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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF PENNSYLVANIA :
By Attorney General Josh Shapiro, :
                                  :
             Plaintiff,           :
                                  :                       CIVIL ACTION
             v.                   :
                                  :                       NO. 19-2104
DOMINION MANAGEMENT OF            :
DELAWARE, INC., d/b/a CASHPOINT,  :
et al.,                           :
                                  :
             Defendants.          :

                                           ORDER

       AND NOW, this _16th_ day of April, 2020, upon consideration of Plaintiff’s Petition to

Remand to State Court (ECF No. 5), Defendants’ Response in Opposition (ECF No. 6), and

Plaintiff’s Reply thereto (ECF No. 7), IT IS HEREBY ORDERED AND DECREED that the

above-captioned matter is REMANDED to the Court of Common Pleas, Philadelphia County.i

The Clerk of Court shall mark this case as CLOSED for statistical purposes.



                                                          BY THE COURT:

                                                          /s/ Petrese B. Tucker
                                                          ____________________________
                                                          Hon. Petrese B. Tucker, U.S.D.J.

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    I. BACKGROUND

       On October 31, 2018, the Commonwealth of Pennsylvania (“Plaintiff”) filed a Complaint

against Dominion Management of Delaware, Inc., Dominion Management Services, Inc.,

Michael Lester, and Kevin Williams (collectively, “Defendants”) in the Court of Common Pleas


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for Philadelphia County. Mem. Supp. Mot. Remand 1, ECF No. 5-1. Michael Lester and Kevin

Williams were, respectively, the President and Vice-President of Dominion Management of

Delaware, Inc. Notice of Removal Ex. A, 6, ECF No. 1-4. The Commonwealth’s Complaint

alleged that Defendants violated three Pennsylvania laws—the Unfair Trade Practices and

Consumer Protection Law, the Corrupt Organizations Act, and the Loan Interest and Protection

Law. Mem. Supp. Mot. Remand 2. Specifically, Plaintiff alleges that Defendants:

            “engaged in practices that have harmed thousands of Pennsylvania
            borrowers by (1) collecting interest on motor vehicle title loans
            that is orders of magnitude higher than the Commonwealth’s
            maximum legal interest rate, (2) encumber the titles of thousands
            of motor vehicles by placing unlawful liens on their titles with the
            Pennsylvania Department of Transportation, which in most cases
            blocks borrowers from selling their vehicles, and (3) repossessing
            and selling the motor vehicle loans owned by borrowers who could
            not keep up with the usurious interest payment on their illegal title
            loans.”
Mem. Supp. Mot. Remand 2–3.

       Defendants Michael Lester and Kevin Williams filed preliminary objections to the

Complaint which were sustained by the Court of Common Pleas. Mem. Supp. Mot. Remand, 2.

As a result, Plaintiff filed an Amended Complaint on April 23, 2019. Mem. Supp. Mot. Remand,

2. On May 13, 2019, Defendants removed the case to this Court, claiming that the Court had

diversity jurisdiction pursuant to 28 U.S.C §§ 1332 and 1441. Notice of Removal, ¶¶ 11–26.

Defendants claimed that even though the Commonwealth of Pennsylvania was the named

Plaintiff, the 3,200 Pennsylvania residents for whom the Commonwealth sought restitution were

the real parties in interest. Notice of Removal ¶ 12. Defendants also claimed that the Court had

federal question jurisdiction pursuant to 28 U.S.C. § 1331 because the suit raises issues of

interstate commerce and “runs afoul of the Commerce Clause.” Notice of Removal ¶ 25.




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       On June 12, 2019, Plaintiff filed a Motion to Remand. See Mot. Remand, ECF No. 5.

Defendants filed a Response in Opposition to the Motion to Remand on June 26, 2020. Defs.

Resp. Opp’n Mot. Remand, ECF No. 6. Plaintiff then filed a Reply in Support of its Motion to

Remand on July 8, 2019. Pl. Reply Supp. Mot. Remand, ECF No. 7. Upon consideration of the

arguments made by the Parties, the Court REMANDS this case to the Court of Common Pleas

for Philadelphia. The Court will first discuss Defendants’ claim that diversity jurisdiction exists

before analyzing the existence of federal question jurisdiction.


   II. ANALYSIS

       According to Third Circuit precedent, the removal statute, 28 U.S.C § 1441, should be

strictly construed and all doubts should be resolved in favor of remand. Johnson v. SmithKline

Beecham Corp., 724 F.3d 337, 346 (3d Cir. 2013). The Court reviews this Motion to Remand

with the Johnson standard in mind.

           A. Diversity Jurisdiction

       Defendants claim that the Court has jurisdiction over this matter because it satisfies the

requirements for diversity jurisdiction under 28 U.S.C. § 1332. Notice of Removal ¶¶ 11–20,

ECF No. 1. Defendants claim that the amount in controversy exceeds the statutory minimum of

$75,000. Notice of Removal ¶ 20. Defendants also claim that, despite the Commonwealth of

Pennsylvania being named as the Plaintiff, the real parties in interest are an estimated 3,200

Pennsylvania residents who conducted business with Dominion. Notice of Removal ¶ 12.

Plaintiff disagrees, arguing that the Commonwealth is the real party in interest. Mem. Supp.

Mot. Remand 6, ECF No. 5-1.




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       To determine whether diversity jurisdiction exists, the Court must look behind the

pleadings to decipher the real party in interest from the essential nature and effect of the

proceeding. Miss. ex. rel. Hood v. AU Optronics Corp., 571 U.S. 161 (2014); Ford Motor Co. v.

Dep’t of Treasury, 323 U.S. 459, 464 (1945). A finding that a state is a real party in interest will

destroy complete diversity since a state is not citizen of any state for purposes of establishing

jurisdiction. Miss. ex. rel. Hood, 571 U.S. at 174; 28 U.S.C. § 1332. Defendants argue that the

Commonwealth brings this action to recover restitution on behalf of its 3,200 residents. Defs.

Mem. Opp’n Mot. Remand 5, ECF No. 6-1. The Court disagrees. In addition to seeking

restitution for the individual victims, Plaintiff seeks permanent injunctive relief, civil penalties,

disgorgement and costs. See Am. Complaint 16–17, ECF No. 1-4.

       The Court finds that the Commonwealth has a sufficient interest in the litigation,

independent from recovering restitution for its citizens, to be considered the real party in interest.

The Ninth Circuit’s reasoning in Nevada v. Bank of America, 672 F.3d 661 (9th Cir. 2012) is

persuasive in both articulating the Commonwealth’s interest in this litigation and distinguishing

this case from Department of Fair Employment and Housing v. Lucent Technologies, Inc., 642

F.3d 728 (9th Cir. 2011), which Defendants cite in opposing Plaintiff’s Motion for Remand. In

Nevada, the State Attorney General filed suit seeking to vindicate and protect the rights of

hundreds of thousands of homeowners in the state. Nevada, 672 F. 3d at 671. The Ninth Circuit

held that Nevada had a sovereign interest in protecting its citizens and economy from deceptive

mortgage practices. Id. at 671. Further, the Court held that this interest was “not diminished

merely because it has tacked on a claim for restitution.” Id. Similarly, in this action,

Pennsylvania’s Attorney General seeks to protect the rights of thousands of Pennsylvania

consumers. The difference in the scale of the alleged fraud between Nevada and the case before

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the Court is not consequential. The Commonwealth of Pennsylvania has a substantial state

interest separate and distinct from the restitution sought for individuals because frauds like the

one alleged in the Complaint impact the Commonwealth’s economy.

       In addition, the Court finds Lucent to be distinguishable from this case. In Lucent, the

California Department of Fair Employment and Housing sued to vindicate the rights of a single

employee. 642 F.3d at 734–35. In that case, the Ninth Circuit found that the government’s

interest was too general to render the State the real party in interest. Id. at 739. In reaching that

conclusion, the Ninth Circuit relied, in part, on the California statute at issue, which stated that

“the person claiming to be aggrieved shall be the real party in interest.” Id. Here, however, the

Commonwealth is suing to vindicate the rights of the individual consumers, rectify the loss that

the alleged practices cost the Commonwealth’s economy, and deter companies from engaging in

conduct similar to that alleged in the Complaint.

       Defendants also cite the United States Supreme Court case Missouri, Kansas, & Texas

Railway Company v. H.W. Hickman, to support their proposition that an interest in the “general

welfare of its citizens or compliance with its laws” is not sufficient to make a state a real party in

interest. 183 U.S. 53 (1901); Defs. Mem. Opp’n Mot. Remand 4. In that case, a state-created

railway board, not the state’s Attorney General, was statutorily charged with enforcing the

railroad regulations and therefore, the named plaintiff. Missouri, 183 U.S. at 54–58. Here, the

Commonwealth is the sole named Plaintiff. Further, the Attorney General is specifically charged

with enforcing Pennsylvania’s Unfair Trade Practices and Consumer Protection Law. 73 P.S. §

201-8. Though perhaps not dispositive, the Attorney General, not a separate board, being

statutorily charged with the enforcement of the Commonwealth’s Consumer Protection Law

indicates that the Commonwealth itself has an interest in litigation aimed at protecting its

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consumers. Therefore, the Court does not find the Supreme Court’s holding in Missouri to be

decisive in this case since the facts are distinguishable and the statutory structure implies that the

Commonwealth here has a greater interest in the litigation than the state did in Missouri.

       In addition, Defendants cite In re Avandia Mktg., Sales Practices and Prod. Liab. Lit., to

support their contention that the Commonwealth is not the real party in interest since parties

other than the Commonwealth would benefit from the litigation. 238 F. Supp. 3d 723 (E.D. Pa.

2017). In that case, Santa Clara County, California filed suit in federal district court against

GlaxoSmithKline alleging violations of California’s Business and Professions Code. Id. at 725.

The case was consolidated in a multidistrict litigation for pretrial proceedings and then

transferred back to the Northern District of California. Id. Five years after the litigation began,

the Plaintiff filed a motion to dismiss arguing that the State of California was the real party in

interest and therefore, the court did not have subject matter jurisdiction because there was not

complete diversity of parties. Id. at 724–25. The Court also finds that case distinguishable.

Santa Clara County, a citizen of California, was the named plaintiff in that litigation. In addition,

that case was originally filed in federal court. Further, Avandia was decided in the context of a

motion to dismiss. Judge Rufe specifically disagreed with the Plaintiff’s argument in part

because the cases it cited were decided within the context of a motion for remand.

               “The rulings in favor of remand in these cases are often based on
               the principle that a court must construe the removal statute strictly
               and reject jurisdiction if there is any doubt regarding whether
               removal was proper. The removal statute is not a concern in cases
               where the plaintiff originally sued in federal court by invoking
               diversity jurisdiction.”
Id. at 729–30 (internal quotations and citations omitted). Here, the Court must decide a Motion

to Remand. Therefore, the Court does not find the reasoning from In re Avandia to be

particularly persuasive.

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       The Court finds that the Commonwealth is the real party in interest in this suit. As a

result, complete diversity is not present between the parties. The Court therefore does not have

jurisdiction pursuant to 28 U.S.C. § 1332.

           B. Federal Question Jurisdiction

       Defendants also claim that the Court has jurisdiction pursuant to 28 U.S.C. § 1331.

Notice of Removal ¶ 25. Defendants argue that the suit raises issues of interstate commerce and

runs afoul of the Commerce Clause, thereby implicating federal issues, and thus, creating

jurisdiction for the Court. However, it is well-settled that “the presence of federal question

jurisdiction turns on the ‘well-pleaded complaint rule,’ which dictates that federal jurisdiction

lies only when a federal question is presented on the face of the plaintiff’s properly pleaded

complaint.” Bracken v. Matgouranis, 296 F.3d 160, 163–64 (3d Cir. 2002). Plaintiff’s

complaint here only states causes of actions that arise under Pennsylvania law. The United

States Supreme Court also makes clear that federal question jurisdiction does not arise when a

defense would raise, or be invalidated by, a provision of the United States Constitution.

Louisville & Nashville R. Co. v. Mottley, 211 U.S. 149, 152 (1908). Any federal question that

may be raised in this litigation only presents itself in the context of a defense. As a result, the

Court finds that the Court does not have jurisdiction pursuant to 28 U.S.C. § 1331.


  III. CONCLUSION

     The Court finds that the Commonwealth of Pennsylvania is the real party in interest in this

action. As a result, the Court does not have jurisdiction pursuant to 28 U.S.C. § 1332. Further,

Plaintiff does not raise a federal question in its Complaint and therefore the Court does not have




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jurisdiction pursuant to 28 U.S.C. § 1331. Accordingly, the Court GRANTS Plaintiff’s Motion

to Remand this action to the Court of Common Pleas of Philadelphia County.




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